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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
 V.                                                §            CASE NO.2:10-CR-5-3 (TJW-CE)
                                                   §
 VICTOR TORRES                                     §

               FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                    BEFORE THE UNITED STATES MAGISTRATE JUDGE

          Pursuant to 28 U.S.C. § 636(b), this matter has been referred by the District Court for

 administration of a plea of guilty and allocution under Rule 11 of the Federal Rules of Criminal

 Procedure.

          On November 4, 2010, this cause came before the undersigned United States Magistrate

 Judge for a plea of guilty and allocution of the defendant in a first superseding indictment charging

 the defendant in Count 1 with a violation of 21 U.S.C. § 846, conspiracy to possess with intent to

 distribute heroin. After conducting said proceeding in the form and manner prescribed by Fed. R.

 Crim. P. 11, the Court finds:

          a.      That the defendant, after consultation with counsel of record, has knowingly and

 voluntarily consented to the administration of the Guilty Plea and Allocution in this cause by a

 United States Magistrate Judge, subject to a final approval and imposition of sentence by the District

 Court.

          b.      That the defendant and the government have entered into a plea agreement which has

 been filed and disclosed in open court pursuant to Fed. R. Crim. P. 11(c)(2).

          c.      That the defendant is fully competent and capable of entering an informed plea, that

 the defendant is aware of the nature of the charges and the consequences of the plea, and that the plea
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 of guilty is a knowing and voluntary plea supported by an independent basis in fact containing each

 of the essential elements of the offense.

        d.         That defendant understands his constitutional and statutory rights and wishes to waive

 these rights, including the right to a trial by jury and the right to appear before a United States

 District Judge.

        IT IS THEREFORE RECOMMENDED that the District Court accept the Plea Agreement

 and the Guilty Plea of the defendant and that Victor Torres should be finally adjudged guilty of that

 offense.

        A party's failure to file written objections to the findings, conclusions and recommendations

 contained in this Report within 14 days after being served with a copy shall bar that party from de

 novo review by the district judge of those findings, conclusions and recommendations and, except

 on grounds of plain error, from appellate review of unobjected-to factual findings and legal

 conclusions accepted and adopted by the district court. Fed. R. Civ. P. 72(b)(2); see Douglass v.

 United Servs. Auto. Ass’n, 79 F.3d 1415, 1430 (5th Cir. 1996) (en banc).


     SIGNED this 5th day of November, 2010.




                                                     ___________________________________
                                                     CHARLES EVERINGHAM IV
                                                     UNITED STATES MAGISTRATE JUDGE




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